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                                          UNITID SfATES DISTAcr COURT

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                                                    CO\LA 01 VI SON




PLAJNllFF                                                      CA.8:: NO • 5: 08-cv-350-VVll-l-CRJ

vs
ffiEL\llVE CDNaPrS l.£AA\J1 NG

FAOU1Y, INC AND

KA.R:NA MABRY

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                                  snFULAllON OF~ENT, SC\11S=AcnON,
                                AND VOLUNTARY 018Vl1S3t\LUNOffiR.JLEOFOV          ~       41 A(ii)

      AJI parties who have appeared in this action Join in stipulating to the voluntary dismissal of

this action anc' ail daims stated against Karena Mabry and Qeative Concepts Learning Facility,

Inc. and state    In   support the following

          The parties have settled all daims and satisfied all daims brought in this laWSUit against
          Karena Mabry and Qeative Concepts Learning Facility, Inc.
     2.   The settlement and satisfaction was completed as of Nov. 29, 2010
     3    Both parties join in stipulating under RJle 41 of the RJles of Ovil A-ocedure A(ii) to the
          voluntary dismissal of all daims by Mark 8@em against Qeative Q:mcepts Learning Facitlity,
          Inc. and Karena Mabry, with prejudice.




                                                                       Edwin R Ivy, Attar ey
                                                                       for Karena Mabry and Qeative
                                                                       Concepts Learning Facility, Inc.
                                                                       R. B3rno.0273643
           efrommer@fisher frommercom                                  edivy@ellsouthnet
           270 Waymant         a, SJite 110                            Box 3223, 0"1 , R. 32802
           Lake Mar~ I, R. 32746                                       407841 2500
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